
The Director of the Office of Lawyers Professional Responsibility has filed a petition for disciplinary action alleging that respondent Steven T. Rosso has committed professional misconduct warranting public discipline-namely, failing to safeguard client funds; failing to ensure accurate maintenance of the required trust account books and records; failing to review the activity in the pooled and individual client trust accounts or any of the reports generated for those accounts; failing to adequately supervise non-lawyer staff in the handling of client funds, which resulted in the misappropriation of client funds; failing to promptly disburse funds to clients; negligent misappropriation of client funds; and *478accepting an improper personal loan from a client. See Minn. R. Prof. Conduct 1.8(a), 1.15(a), 1.15(c)(3), 1.15(c)(4), 1.15(e), 1.15(f), 1.15(h) as interpreted by Appendix 1, 5.3(b), and 8.4(a).
Respondent and the Director have entered into a stipulation for discipline. In it, respondent waives his procedural rights under Rule 14, Rules on Lawyers Professional Responsibility (RLPR), waives the right to answer, and unconditionally admits the allegations of the petition. The parties recommend that the appropriate discipline is an indefinite suspension with no right to petition for reinstatement for 12 months.
The court has independently reviewed the file and approves the recommended discipline.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED THAT:
1. Respondent Steven T. Rosso is suspended from the practice of law, effective 14 days from the date of this order, with no right to petition for reinstatement for 12 months.
2. Respondent may petition for reinstatement pursuant to Rule 18(a)-(d), RLPR. Reinstatement is conditioned on successful completion of the written examination required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility, see Rule 18(e)(2), RLPR, and satisfaction of continuing legal education requirements, see Rule 18(e)(4), RLPR.
3. Respondent shall comply with Rule 26, RLPR (requiring notice of suspension to clients, opposing counsel, and tribunals), and shall pay $900 in costs pursuant to Rule 24(a), RLPR.
BY THE COURT:
/s/ ______________________________
David L. Lillehaug
Associate Justice
